     Case: 1:19-cv-01417 Document #: 47 Filed: 09/25/19 Page 1 of 1 PageID #:389

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                 Eastern Division

Jay Rossi
                                           Plaintiff,
v.                                                          Case No.: 1:19−cv−01417
                                                            Honorable Manish S. Shah
General Nutrition Corporation, et al.
                                           Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 25, 2019:


         MINUTE entry before the Honorable Manish S. Shah: Status hearing held.
Discovery under the MIDP shall be exchanged by 10/21/19. Defendant Grenade USA may
file an amended answer by 10/2/19. All fact discovery, including treating professionals,
must be noticed in time to be completed by 3/23/20. Any requests to amend the pleadings
must be made by 1/14/20. An agreed proposed protective order may be submitted to
proposed_order_shah@ilnd.uscourts.gov. The parties may contact
susan_mcclintic@ilnd.uscourts.gov for a settlement referral. Continued status hearing is
set for 11/21/19 at 9:30 a.m. Notices mailed. (psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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criminal dockets of this District. If a minute order or other document is enclosed, please
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